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                             No. 23-10362

              UNITED STATES COURT OF APPEALS
                   FOR THE FIFTH CIRCUIT
                       ________________
   ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
  PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
    PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS;
          SHAUN JESTER, D.O.; REGINA FROST-CLARK, M.D.;
           TYLER JOHNSON, D.O.; GEORGE DELGADO, M.D.,
                                        Plaintiffs-Appellees,
                                v.
U.S. FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner
of Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as
Principal Deputy Commissioner, U.S. Food and Drug Administration;
                  (Caption continued on inside cover)
                          ________________
         On Appeal from the United States District Court for the
          Northern District of Texas, Amarillo, No. 2:22-cv-223
            Hon. Matthew J. Kacsmaryk, U.S. District Judge
                           ________________
       BRIEF OF PHARMACEUTICAL COMPANIES,
    EXECUTIVES, AND INVESTORS AS AMICI CURIAE IN
              SUPPORT OF APPELLANTS
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Center for Drug Evaluation and Research, U.S. Food and Drug
       Administration; UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES; XAVIER BECERRA, Secretary,
      U.S. Department of Health and Human Services,
                                        Defendants-Appellants,
                             v.
                   DANCO LABORATORIES, L.L.C.,
                                        Intervenor-Appellant.
                       ________________

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            CERTIFICATE OF INTERESTED PERSONS

     Under Fifth Circuit Rule 29.2, the undersigned counsel of record for

amici curiae certifies that the following listed persons and entities, in

addition to those listed in the Appellants’ Certificate of Interested

Persons, have an interest in the amicus brief. These representations are

made in order that judges of this Court may evaluate possible

disqualification or recusal.

     Amici curiae organizations:

        • Afaxys, Inc. has no parent corporation. No publicly held
          corporation owns 10% or more of Afaxys, Inc.’s stock.

        • Aleta Biotherapeutics has no parent corporation. No publicly
          held corporation owns 10% or more of Aleta Biotherapeutics’
          stock.

        • Ambagon Therapeutics, Inc. has no parent corporation. No
          publicly held corporation owns 10% or more of Ambagon
          Therapeutics, Inc.’s stock.

        • AN2 Therapeutics, Inc. (NASDAQ: ANTX) has no parent
          corporation. No publicly held corporation owns 10% or more
          of AN2 Therapeutics, Inc.’s stock.

        • Arsenal Biosciences has no parent corporation. No publicly
          held corporation owns 10% or more of Arsenal Biosciences’
          stock.

        • Ashvattha Therapeutics has no parent corporation. No
          publicly held corporation owns 10% or more of Ashvattha
          Therapeutics’ stock.
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 • BIOCOM CALIFORNIA has no parent corporation. No
   publicly held corporation owns 10% or more of BIOCOM
   CALIFORNIA’s stock.

 • BioNJ has no parent corporation.         No publicly held
   corporation owns 10% or more of BioNJ’s stock.

 • Biotechnology Innovation Organization (BIO) is a trade
   association. It is not publicly traded and has no parent
   corporation. No publicly traded corporation owns 10% or
   more of its stock.

 • Blue Persimmon Group LLC has no parent corporation. No
   publicly held corporation owns 10% or more of Blue
   Persimmon Group LLC’s stock.

 • BlueRock Therapeutics LP’s parent corporation is Bayer
   Aktiengesellschaft (OTCMKTS: BAYRY). No publicly held
   corporation owns 10% or more of BlueRock Therapeutics LP’s
   stock.

 • Braidwell LP’s parent company is Braidwell Holdings LP. No
   publicly held corporation owns 10% or more of Braidwell LP’s
   stock.

 • Cadence OTC (a/k/a Cadence Health, Inc.) has no parent
   corporation. No publicly held corporation owns 10% or more
   of Cadence OTC’s stock.

 • CairnSurgical, Inc. has no parent corporation. No publicly
   held corporation owns 10% or more of CairnSurgical, Inc.’s
   stock.

 • Celdara Medical has no parent corporation. No publicly held
   corporation owns 10% or more of Celdara Medical’s stock.

 • Celldex Therapeutics, Inc. (NASDAQ: CLDX) has no parent
   corporation. FMR LLC owns 15.0% of Celldex Therapeutics,
   Inc.’s stock.



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 • Cellevolve Bio Inc. has no parent corporation. No publicly
   traded corporation owns 10% or more of Cellevolve Bio Inc.’s
   stock.

 • Compass Pathways plc (NASDAQ: CMPS) has no parent
   corporation. Atai Life Sciences N.V. (NASDAQ: ATAI) owns
   22.4% of Compass Pathways plc’s stock.

 • Curae Pharma360 Inc.’s parent company is Medicines360.
   Medicines360 owns 100% of Curiae Pharma360 Inc.’s stock.

 • Deep Track Capital has no parent corporation. No publicly
   traded corporation holds 10% or more of Deep Track Capital’s
   stock.

 • Digitalis Ventures has no parent corporation. No publicly
   traded corporation holds 10% or more of Digitalis Ventures’
   stock.

 • Exxclaim Capital has no parent corporation. No publicly
   traded corporation holds 10% or more of Exxclaim Capital’s
   stock.

 • Eyepoint Pharmaceuticals (NASDAQ: EYPT) has no parent
   corporation. Franklin Resources, Inc. (NYSE: BEN) owns
   16.7% of Eyepoint Pharmaceuticals’ stock.

 • Gilead Sciences, Inc. (NASDAQ: GILD) has no parent
   corporation. No publicly traded corporation owns 10% or
   more of Gilead Sciences, Inc.’s stock.

 • Juvena Therapeutics, Inc. has no parent corporation. No
   publicly traded corporation owns 10% or more of Juvena
   Therapeutics, Inc.’s stock.

 • Lenz Therapeutics has no parent corporation. No publicly
   traded corporation owns 10% or more of Lenz Therapeutics’
   stock.




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 • MacroGenics, Inc. (NASDAQ: MGNX) has no parent
   corporation. Bellevue Asset Management AG holds 15.49% of
   the company’s stock.

 • Medicines360 is a nonprofit 501(c)(3) organization that is not
   publicly traded. Medicines360 has no parent corporation, and
   no publicly traded corporation owns 10% or more of
   Medicines360’s stock.

 • Michigan Biosciences Industry Association (MichBio) has no
   parent corporation. No publicly traded corporation owns 10%
   or more of MichBio’s stock.

 • Nitrase Therapeutics, Inc. has no parent corporation. No
   publicly traded corporation owns 10% or more of Nitrase
   Therapeutics, Inc.’s stock.

 • Notch Therapeutics has no parent corporation. Allogene
   Therapeutics (NASDAQ: ALLO) owns 10% or more of Notch
   Therapeutics’ stock.

 • Omega Fund Management, LLC has no has no parent
   corporation. No publicly traded corporation owns 10% or
   more of Omega Fund Management, LLC’s stock.

 • Osmol Therapeutics, Inc. has no has no parent corporation.
   No publicly traded corporation owns 10% or more of Osmol
   Therapeutics, Inc.’s stock.

 • Pfizer Inc. (NYSE: PFE) has no parent corporation. No
   publicly traded corporation owns 10% or more of Pfizer Inc.’s
   stock.

 • RA Capital Management, LP has no parent corporation. No
   publicly traded corporation holds 10% or more of RA Capital
   Management, LP’s stock.

 • RH Capital Partners has no parent corporation. No publicly
   traded corporation holds 10% or more of RH Capital Partners’
   stock.


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  • Second Genome, Inc. has no parent corporation. No publicly
    traded corporation holds 10% or more of Second Genome,
    Inc.’s stock.

  • SwanBio Therapeutics, Inc.’s parent corporation is SwanBio
    Therapeutics Ltd. No publicly traded corporation owns 10%
    or more of SwanBio Therapeutics, Inc.’s stock.

  • Synlogic Inc. (NASDAQ: SYBX) has no parent corporation.
    No publicly traded corporation owns 10% or more of Synlogic
    Inc.’s stock.

  • Tyra Biosciences, Inc. (NASDAQ: TYRA) has no parent
    corporation. No publicly traded corporation owns 10% or
    more of Tyra Biosciences, Inc.’s stock.

  • Upstream Bio, Inc. has no parent corporation. No publicly
    traded corporation owns 10% or more of Upstream Bio, Inc.’s
    stock.

  • Vida Ventures, L.L.C. has no parent corporation. No publicly
    traded corporation owns 10% or more of Vida Ventures,
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     * Ms. Devendorf’s admission to practice law in the State of
     New York is pending; she is practicing with the direct
     supervision of the firm’s principals.

Dated: May 1, 2023

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                                    Eva A. Temkin

                                    Counsel for Amici Curiae




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                   INTEREST OF AMICI CURIAE

     Amici curiae are pharmaceutical companies, pharmaceutical

company executives, and industry investors from across the United

States. The district court’s opinion would upend the application process

(New Drug Applications, or “NDAs”) that pharmaceutical companies use

to seek Food and Drug Administration (“FDA”) approval of new drugs.

Amici collectively hold hundreds of approved NDAs and anticipate filing

many more for drugs currently in development. Amici are therefore

deeply familiar with the high costs associated with drug development and

the need for regulatory clarity and certainty around drug approval, and

are well positioned to explain to the Court the substantial chilling effect

the district court’s decision will impose on the development of new drugs.

     A full list of amici is included as an Appendix to this brief.

     The parties have consented to the filing of this amicus brief. No

party or counsel for a party authored this brief in whole or in part. No

party, counsel for a party, or person other than amici, their members, or

their counsel made a monetary contribution intended to fund the

preparation or submission of this brief.
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                             INTRODUCTION

        Each year, pharmaceutical developers and investors devote billions

of research-and-development dollars to creating new medications that

improve health and save lives. In the United States, the process by which

those medications are evaluated to ensure that they are both safe and

effective is the product of nearly a century of federal legislation

delegating oversight of drug approvals to the FDA.

        The district court’s decision upends that longstanding statutory

and regulatory framework. In issuing a “stay” of FDA’s drug approval,

the district court unreasonably found fault with FDA’s sound scientific

judgments. The court also badly misapplied governing drug-approval

laws,     and   administrative    law        more       generally,    including    by

(i) substituting personal conclusions—drawn from anecdotes and cherry-

picked publications—for FDA’s rigorous, data-driven scientific analysis;

(ii) ruling, without scientific or legal basis, that FDA must require a

clinical trial under conditions that perfectly match the drug’s labeling

(including evaluating any changes in combination with each other) or else

provide a special justification for not doing so; (iii) finding FDA’s

treatment of adverse event data to be improper under an incorrect (and



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impossible) standard; (iv) opining, without scientific or legal basis, that

expensive and impractical studies comparing two treatments head-to-

head are necessary to demonstrate meaningful therapeutic benefit; and

(v) unnecessarily adopting an improperly narrow interpretation of what

constitutes a serious or life-threatening illness and ignoring intervening

amendments to the Federal Food, Drug, and Cosmetic Act (“FDCA”).

     The district court’s order would sharply restrict (if not completely

eliminate) the availability of a drug that has been FDA-approved for

nearly a quarter-century. But that is not all. Far from being limited to

a single drug, the district court’s logic would create chaos for the drug-

approval process, not least by inviting any plaintiff to challenge the

approval of any drug, regardless of how long the drug has been on the

market or how spurious the grounds. Any patient, whether or not they

actually suffer side effects, or any physician, whether or not they actually

treat any such patient, could ask a judge to undermine patient access to

any drug nationwide, based on nothing but conjecture and cherry-picked

publications.    That outcome would chill crucial research and

development, undermine the viability of investments in this important

sector, and wreak havoc on drug development and approval generally—



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all of which would irreparably harm patients, providers, and the entire

pharmaceutical industry.

     Accordingly, amici urge this Court to reverse the district court’s

order.

                               BACKGROUND

     A.       Congress intended FDA, not the courts, to serve as the
              expert arbiter of drugs’ safety and effectiveness.

     Since its enactment nearly a century ago, the FDCA has required

that FDA determine that a new drug is safe before it can be marketed.

Pub. L. No. 75-717, 52 Stat. 1040 (1938) (codified as amended at 21 U.S.C.

§ 301 et seq.).     In the early 1960s, Congress added a further pre-

marketing requirement that FDA determine that a drug is also effective.

Drug Amendments of 1962, Pub. L. No. 87-781, § 102, 76 Stat. 780, 781–

82 (codified as amended at various sections of 21 U.S.C.).

     These dual requirements of safety and efficacy are the touchstones

of FDA review. And over the last sixty years, Congress has repeatedly

expanded FDA’s authority and affirmed FDA’s role as the sole arbiter of

whether and how a drug should be made publicly available. See, e.g.,

Food and Drug Administration Amendments Act of 2007, Pub. L. No. 110-

85, 121 Stat. 823; Food and Drug Administration Safety and Innovation


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Act of 2012, Pub. L. No. 112-144, 126 Stat. 993. FDA has faithfully

implemented those requirements and promulgated regulations setting

forth the scientific principles governing adequate and well-controlled

clinical investigations and the requirements for labeling of approved

drugs. See, e.g., 21 C.F.R. §§ 201.56, 201.57, 314.50, 314.126. With those

statutory provisions and regulations as guardrails, FDA has retained

significant flexibility in the drug-approval process—flexibility that is

essential to allow FDA to apply its expert scientific and medical judgment

on a case-by-case basis.

     Because all drugs have the potential for adverse effects,

demonstrating a drug’s safety does not require that a sponsor show that

a drug has no potential adverse effects, but rather that the drug’s benefits

outweigh any risks it poses. See 21 U.S.C. § 355(d) (“The Secretary shall

implement a structured risk-benefit assessment framework in the new

drug approval process to facilitate the balanced consideration of benefits

and risks ….”); FDA, Draft Guidance for Industry: Benefit-Risk

Assessment for New Drug and Biological Products, at 3 (Sept. 2021)

(“Because all drugs can have adverse effects, the demonstration of safety

requires a showing that the benefits of the drug outweigh its risks.”); see



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also Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 476 (2013) (“In order for

the FDA to consider a drug safe, the drug’s probable therapeutic benefits

must outweigh its risk of harm.” (quotation marks omitted)).                      This

balancing of benefits and risks constitutes the core of FDA’s drug-

approval standard and was entrusted by Congress to FDA, as the expert

agency, not to the courts.

     B.      The statute and regulations require painstaking
             demonstrations of safety and effectiveness before FDA
             approval.

     The NDA process. Under the FDCA framework, FDA will approve

an NDA only if the application includes sufficient evidence of safety and

“substantial evidence” of effectiveness from “adequate and well-

controlled investigations.” 21 U.S.C. § 355(d); see id. §§ 321(p), 331(d),

355(a). To seek approval of an NDA, the drug sponsor undertakes a

lengthy and resource-intensive development program. As part of that

program, it performs rigorous scientific studies and analyses to

demonstrate the drug’s safety and efficacy and to develop physician

labeling.     Those studies and analyses include laboratory testing;

preclinical (animal) testing; three separate phases of rigorous clinical

studies     involving,   on   average,   several        thousand    patients;     and



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development of chemistry, manufacturing, and controls information.

Scientific and medical experts at FDA participate throughout the

process, which culminates when the sponsor submits, and FDA reviews,

the NDA.

     FDA’s decision to approve an NDA is complex and predicated on a

rigorous process requiring particularized expertise. FDA will approve an

NDA only if the applicant demonstrates that the drug is safe and effective

for the proposed use or uses and there is no other ground for denial. 21

U.S.C. § 355(c)(1). If the application does not demonstrate that the drug

is safe and effective for use under the conditions prescribed,

recommended, or suggested in the proposed labeling, FDA must refuse to

approve the NDA.       Id. § 355(b) & (d)(1), (2), (4), (5); 21 C.F.R.

§ 314.50(a)(1).

     The Subpart H regulations.                 In 1992, FDA promulgated

regulations to enhance the agency’s flexibility with respect to (1) the

kinds of evidence that FDA could rely on to make the requisite finding of

effectiveness in support of NDA approval, and (2) the tools FDA had at

its disposal to ensure positive benefit-risk calculations for particular

drugs.



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     All drugs approved using the Subpart H tools meet the requisite

standards for approval. See generally Final Rule: New Drug, Antibiotic,

and Biological Drug Product Regulations; Accelerated Approval, 57 Fed.

Reg. 58,942 (Dec. 11, 1992). In addition to its better known accelerated-

approval provisions, Subpart H also gave FDA flexibility to impose

conditions “needed to assure safe use,” including distribution restrictions,

on drugs that were intended to treat “serious or life-threatening

illnesses,” that “provide[d] meaningful therapeutic benefit to patients

over existing treatments,” and that otherwise satisfied the requirements

of the FDCA. Id. at 58,958 (codified at 21 C.F.R. §§ 314.500, 314.520).

Far from disfavoring this approach to making important drugs available

to the public, Congress later codified these tools into the FDCA. 21 U.S.C.

§§ 355-1, 356(c).

     Adverse event reporting.          FDA regulations require all NDA

holders to review adverse drug experience information received from any

source and to report fatal and non-fatal adverse events to FDA. 21 C.F.R.

§ 314.80. With only a handful of exceptions, all known adverse drug

experiences must be reported to FDA; the only differences are with

respect to when, not whether, they must be reported. Id. In particular,



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NDA holders must report all “serious and unexpected” adverse drug

experiences within fifteen days. Id. § 314.80(c)(1)(i). Unless already

identified in the drug’s labeling (and thus not “unexpected”), the adverse

drug experiences that must be reported within this time frame include

deaths,   life-threatening   conditions,       inpatient    hospitalization    or

prolongation of existing hospitalization, a persistent or significant

disability or incapacity, or a congenital anomaly or birth defect, as well

as other medical events that, based on appropriate medical judgment,

may endanger the patient or may require medical or surgical

intervention to prevent a dangerous outcome. Id. § 314.80(a). NDA

holders also must report other adverse events even though they fall

outside of the regulatory definition of “serious and unexpected.”              Id.

§ 314.80(c)(2) (requiring quarterly reporting for the first three years post-

approval and annual reporting thereafter).

     On occasion, FDA can require yet additional adverse event

reporting, for example by requiring physicians to report certain types of

adverse events. See 21 U.S.C. § 355-1(f)(3). When FDA does so, the

agency must periodically to reassess such requirements, and must pare

them back, as appropriate, in light of evaluations and input received from



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patients, physicians, pharmacists, and other healthcare providers, id.

§ 355-1(f)(5), and as necessary to “minimize the burden on the health care

delivery system,” id. § 355-1(g)(4)(B).

     C.    FDA’s drug-approval process is the gold standard of
           scientific review.

     FDA’s drug-review process is recognized worldwide as the gold

standard, assuring patients that the drugs they take are safe and

effective. The imprimatur of FDA approval thus has been and remains

critical to uptake and acceptance of new drugs, especially for new and

cutting-edge technologies.

     Drug development entails massive expense and considerable

business risk.   Only about 12% of drugs entering clinical trials are

ultimately approved, and the cost of developing a new drug can exceed

two billion dollars. See Cong. Budget Office, No. 57025, Research and

Development in the Pharmaceutical Industry, at 2 (Apr. 2021), available

at https://www.cbo.gov/publication/57126.              Because of that inherent

unpredictability, investors in drug development depend on the clarity

and stability of FDA’s scientific decision-making with respect to drug

approvals. That clarity and stability provide much-needed certainty for

investors, who in turn provide the investments that lead to the


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development of new, important, and potentially lifesaving drugs for the

patients who need them.

                              ARGUMENT

      The district court ruled that FDA’s approvals of the mifepristone

NDA and 2016 supplemental NDA, as well as FDA’s 2021 decision to

exercise enforcement discretion with respect to certain distribution

restrictions, violated the FDCA and the Administrative Procedure Act

(“APA”). In reaching those conclusions, the district court substituted its

own idiosyncratic views of clinical benefit and safety for the gold-

standard benefit-risk analysis required by Congress and performed by

FDA’s medical and scientific professionals. In so doing, the court ignored

the flexibility the FDCA deliberately affords FDA—with its expert

scientific judgment—in making safety and efficacy decisions. Instead of

appropriately deferring to FDA’s scientific expertise, and in lieu of the

approval standards established by Congress and implemented by FDA,

the court invented its own novel, unworkable standards to govern drug

development and approval. 1



  1 Similarly, the district court’s rewriting of bedrock caselaw regarding
Article III standing would throw open the doors of the federal courts to


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I.   The district court improperly substituted its own views for
     FDA’s expert scientific judgment.

     The district court’s decision represents a radical departure from the

deference courts normally and properly show to FDA’s scientific and

medical judgment.      Congress intended that the nuanced benefit-risk

judgments necessary for the drug-approval process would be made by the

politically accountable expert agency, not by judges “without chemical or

medical background.” Weinberger v. Bentex Pharms., Inc., 412 U.S. 645,

654 (1973) (quotation marks omitted); see FDA v. Am. Coll. of

Obstetricians & Gynecologists, 141 S. Ct. 578, 579 (2021) (Roberts, C.J.,

concurring) (“[C]ourts owe significant deference to the politically

accountable entities with the background, competence, and expertise to

assess public health.” (quotation marks omitted)).




challenges to any drug brought by any patient, whether or not they
actually suffer side effects, or by any physician, whether or not they
actually treat any such patient. Appellants thoroughly explain the
fundamental errors in the district court’s conclusion that plaintiffs have
standing. If accepted, the speculative standing argument here could be
applied to virtually any other FDA-approved drug. The district court’s
sweeping expansion of standing would enable limitless challenges to
FDA-approved drugs, and the resulting instability would undercut drug
development and investment.


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     The district court faulted FDA for not denying the mifepristone

NDA under section 505(d) of the FDCA, which requires FDA to deny an

application if it does not “include adequate tests by all methods

reasonably applicable to show whether or not such drug is safe for use

under the conditions prescribed, recommended, or suggested in the

proposed labeling thereof.” 21 U.S.C. § 355(d). But it did not find that

FDA failed to apply that standard. Nor did it identify any errors in FDA’s

scientific judgment or calculations. Instead, the court proffered its own,

competing analysis, which lacked any evidence that could support the

type of rigorous scientific decision-making with which FDA is tasked (and

which it carried out here). The court cast aside not only the voluminous

scientific evidence FDA considered at the time of approval, but also

nearly a quarter-century of subsequent data that FDA determined

confirmed the drug as safe and effective. In its place, the court cherry-

picked personal stories told by plaintiffs and unreliable publications

(including anonymous blog posts), many of which were not even

submitted to FDA. The court then ruled that FDA was required to deny

the NDA based on the court’s own non-scientific assessment of this

alternative record.



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      This result conflicts with the FDCA and the APA and violates

bedrock principles of administrative law. A court applying arbitrary-

and-capricious review “is not to substitute its judgment for that of the

agency.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463

U.S. 29, 43 (1983); see Am. Radio Relay League, Inc. v. FCC, 524 F.3d

227, 248 (D.C. Cir. 2008) (Kavanaugh, J., concurring in part) (explaining

that arbitrary-and-capricious review is not a license for courts to second-

guess “highly technical determination[s] committed to [an agency’s]

expertise and policy discretion”). If affirmed, the district court’s non-

expert, judicial second-guessing of FDA’s scientific judgment regarding

NDA approvability threatens turmoil for the industry, those that invest

in it, and most importantly, the patients who depend on it.

II.   The district court’s decision would create impossibly rigid
      new standards for drug development and approval.

      Not only did the district court improperly refuse to defer to FDA’s

expert judgment, it also adopted novel and inflexible requirements to

govern the drug-approval process. Nothing in the FDCA mandates the

new and rigid requirements the district court imposed, or otherwise

prevents FDA from applying its expert judgment to assess the adequacy




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of the scientific evidence presented to support approval of an NDA or a

labeling change.

      To the contrary, one hallmark of the drug-approval process is its

flexibility.    Drug sponsors can leverage studies from many different

sources, even in lieu of conducting clinical studies.                See 21 U.S.C.

§ 355(b)(2). Moreover, those studies can reflect a wide range of designs,

because an NDA is required only to contain sufficient data to demonstrate

the drug’s safety and effectiveness. 21 C.F.R. § 314.50. Neither Congress

nor FDA has imposed artificial or unnecessary limits on what form that

data must take. This flexibility is crucial, not least because not all

disease states or treatments lend themselves to particular study designs.

See, e.g., Sundeep Agrawal et al., Use of Single-Arm Trials for US Food

and Drug Administration Drug Approval in Oncology, 2002-2021,

9 JAMA         Oncology   266   (2023)     (reviewing        approved     marketing

applications based on single-arm trials). It reflects Congress’s considered

decision to rely on FDA’s expertise in distinguishing robust and reliable

data from colorful but clinically and statistically meaningless (and

potentially misleading) anecdotes—disaggregating signal from noise in

the inputs it receives.



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      The district court’s inflexible approach also would have ripple

effects across FDA’s programs for drugs intended to treat serious and life-

threatening diseases and conditions—programs that are essential to

facilitating and expediting the development and review of critical

medicines. It could narrow eligibility for these programs, delay patient

access to important and potentially lifesaving medications, and

discourage development of medications in the first instance. Without

sufficient flexibility, sponsors would lose considerable efficiency in

bringing new drugs to market, and in updating and improving on existing

approved applications. And that in turn would come at the expense of

patients, who would lose access to treatments that can improve or even

save their lives.

      A.    The district court improperly imposed rigid labeling
            and comparative-trial requirements.

      Ignoring the plain statutory text and structure of the FDCA, FDA’s

duly promulgated regulations, and decades of precedent, the district

court found that FDA had acted arbitrarily and capriciously in failing to

match the conditions of use in the drug’s FDA-approved labeling with

those in the supporting clinical trials. See ROA.4357, ROA.4363–4364.

Specifically, although the district court acknowledged that the FDCA


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does not require the conditions of use approved in a drug’s labeling to

“match” the conditions in any clinical trials supporting approval,

ROA.4356 n.48, ROA.4366, the court nevertheless ruled that FDA was

required to provide a detailed explanation for not incorporating all of the

clinical trial conditions into the labeling—and that it had acted

arbitrarily and capriciously by not doing so. ROA 4357–4364.

      The district court did not ground This conclusion in any statutory

or regulatory text; rather, it improperly recast deferential arbitrary-and-

capricious review as an opportunity to “substitute its judgment” for that

of the expert agency. State Farm, 463 U.S. at 43. Through this misuse

of arbitrary-and-capricious review, the district court effectively rewrote

the FDCA’s drug-approval paradigm, requiring FDA to support every

aspect of a drug’s approved labeling—and every change to that labeling—

with a clinical trial that studies the precise conditions of use at issue. Its

reasoning would create a presumption that a drug’s labeling must include

precisely the same conditions as the randomized clinical trials that

provide the basis for approval, unless FDA “cogently explain[s]” any

differences. ROA.4366 (quotation marks omitted). That presumption

has no basis in law or in fact. Indeed, the only “support” the district court



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mustered came from one university’s Institutional Review Board glossary

page—not from any statute, regulation, or agency guidance.                      See

ROA.4355 & n.46. The court failed to recognize that there are virtually

always differences between clinical trial conditions and approved

labeling, and FDA is not, and should not be, held to a heightened

standard requiring it to justify every such difference.

     Similarly, the district court concluded that FDA acted arbitrarily

and capriciously by failing to cite “studies compar[ing]” the safety of

proposed   labeling    changes   “against        the   then-current     regimen.”

ROA.4365. Instead, the court simply invented a novel rule that even

though FDA had evaluated the proposed labeling changes, FDA’s

approval of the changes was arbitrary and capricious because it did not

examine the potential safety consequences of those changes under the

precise conditions of use that would exist if the changes were made. The

court thus suggested that a labeling change is permissible only if

supported by a clinical trial that perfectly compares the pre- and post-

change conditions—or, as the motions panel termed it, “studies that

evaluated the safety-and-effectiveness consequences of [those changes]




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as a whole.”    ROA.4412.    Again, the district court did not cite any

authority for this requirement, and, again, none exists.

     Clinical trials—and particularly randomized, controlled clinical

trials—are simply not intended to perfectly mirror real-world use

conditions.    Rather, traditional clinical trials are—and always have

been—“largely separate from routine clinical practice” precisely because

they are “designed to control variability and maximize data quality.”

FDA, Framework for FDA’s Real-World Evidence Program, at 5 (Dec.

2018). This is true of both clinical trials intended to support initial NDA

approval and those intended to support subsequent changes.

     As FDA and the sponsor learn more about the drug through

additional development, the clinical trial parameters evolve—as they

should—to reflect new knowledge. Clinical trials often have restrictive

eligibility criteria and additional monitoring procedures beyond those

that would apply in clinical practice. For example, FDA has identified

numerous strategies to adopt selection criteria that improve the power

and practicality of a clinical trial, such as requiring persistence of a

disease over a run-in period; stability of baseline measures such as blood

pressure, exercise tests, or pulmonary tests; or factors that improve the



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likelihood of compliance. FDA, Good Review Practice: Clinical Review of

Investigational New Drug Applications (Dec. 2013). But these selection

criteria are not required or expected to carry over into the approved

labeling.

      The district court’s approach disregards FDA’s longstanding

flexibility and would instead require FDA to justify each and every

difference between the labeling and the trial conditions, encouraging

judicial second-guessing of FDA’s sound and reasoned judgments.

Among       other   problems,   such     a     requirement      would     result   in

inappropriately narrow labeled indications, which would unnecessarily

limit patient access.     It also would create an avenue for parties to

challenge FDA’s decision any time the agency does not require a precise

match between labeling and trial conditions—which is essentially every

time FDA approves a drug. 2


  2 The district court suggested in passing that FDA’s 2000 approval of
mifepristone may have been arbitrary and capricious because the drug
was not “tested for under-18 girls undergoing reproductive development”
even though such testing may have, in the court’s opinion, been required
under the Pediatric Research Equity Act (“PREA”) and the FDA
regulations that preceded it (known as the “Pediatric Rule”). ROA.4357
& n.49. That brief suggestion bears little weight. As the district court
acknowledged, a court subsequently determined the Pediatric Rule


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     This novel framework, which appears nowhere in the text of the

FDCA that two houses of Congress passed and the President signed, is

rigid, unworkable, and entirely unnecessary.             For example, in early

clinical trials, the conditions imposed inevitably and significantly differ

from anticipated clinical practice.         Under the district court’s rule, a

sponsor could therefore not rely on early efficacy studies to provide

substantial evidence of effectiveness—thus invalidating a common

practice for cutting-edge technologies and drugs for rare diseases, among

others.

     Incremental improvements to approved drugs (including new

indications) are also often supported by multiple types of studies and

data, and there is no requirement that a drug can only be approved, or




exceeded FDA’s authority. And PREA, which was enacted in 2003, does
not require a drug sponsor to conduct separate pediatric studies (nor did
the Pediatric Rule before it). To the contrary, FDA can rely on
extrapolation or waiver to satisfy the statutory conditions for approval or
can defer the obligation. See 21 U.S.C. § 355c; 21 C.F.R. § 314.55(a).
  In any case, FDA further explained in 2016 why no additional
pediatric studies were required under PREA, see FDA, New Drug
Application No. 020687/S-020, Summary Review, at 17–19 (Mar. 29,
2016), https://www.accessdata.fda.gov/drugsatfda_docs/nda/2016/020687
Orig1s020SumR.pdf, and the district court did not even address that
explanation, much less find it arbitrary or capricious.


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its labeling can only be modified, if supported by particular types of

clinical trials—let alone trials conducted under conditions that perfectly

match the labeling or that evaluate changes “as a whole.” ROA.4412.

Similarly, post-approval labeling changes are a common and necessary

part of approval maintenance.       The district court’s approach would

hinder reliance on even new data and information to support post-

approval innovations and other changes unless the trial conditions

perfectly matched the labeling changes.          This would be an impossible

burden. Under this approach, FDA could no longer approve such changes

without costly, time-consuming, and unnecessary studies. This approach

would also freeze drug labeling in time, discourage sponsors from

continuing to innovate on their existing products, and deprive patients of

access to improved treatments. The district court’s reasoning would also

make it more difficult for FDA to do away with onerous restrictions that

real-world experience has demonstrated are not necessary, which would

make access to critical drugs more difficult than it should be. 3


  3  The inability to nimbly update labeling would be especially
pernicious in therapeutic areas where disease states evolve quickly,
requiring drug sponsors and FDA to constantly monitor and update
NDAs. For example, such updates may be necessary to reflect fast


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     B.    The district court’s decision undermines FDA’s ability
           to generate and rely on useful safety data.

     The district court also found fault with FDA’s reliance on data from

the FDA Adverse Event Reporting System (“FAERS”), a database

containing reports of adverse events experienced by patients while using

an approved treatment, both in order to pare back additional reporting

requirements that had previously been imposed and for regulatory

decision-making thereafter.     See ROA.4344–4345.              Once again, the

district court did not find that FDA violated any specific statutory or

regulatory requirement; it found only that FDA’s actions were (in the

district court’s view) arbitrary and capricious. But FDA’s actions were

entirely reasonable exercises of its authority and expertise, especially in

light of the agency’s long experience with the drug in question. What

really happened here (as opposed to what the district court incorrectly

claimed happened) is that after fifteen years of unusually intensive

monitoring firmly established the drug’s strong safety profile, FDA




moving evidence in the context of virus mutations and developing
antimicrobial resistance. The district court’s rigid requirements would
undermine under the ability to make these critical updates, and FDA
(and patients) would be left with decades-old tools in fights against
modern diseases.


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determined that certain extra reporting was no longer warranted. It

therefore pared back the heightened reporting requirements for non-fatal

adverse event reporting it had previously imposed under the REMS, as

it was required to do. See 21 U.S.C. §§ 355-1(f), (g).

     There is no legal basis whatsoever for the district court’s

suggestions that this action was unreasonable or that it rendered the

post-2016 FAERS data unusable without additional physician reporting

requirements. Contrary to the district court’s assertion, this change did

not “practically eliminate an ‘adverse event’ reporting requirement.”

ROA.4345. Quite the contrary: as FDA explained, the applicant would

“still be required by law, as is every NDA holder, to report serious,

unexpected adverse events as 15-day safety reports” and to submit

periodic adverse drug experience reports for virtually all other known

adverse events. FDA, New Drug Application No. 020687/S-020, Medical

Review, at 8 (Mar. 29, 2016), available at https://www.accessdata.

fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020MedR.pdf; see also

FDA, New Drug Application No. 020687/S-020, REMS Modification

Review, at 10 (Mar. 29, 2016), available at https://www.accessdata.

fda.gov/drugsatfda_docs/nda/2016/020687Orig1s020RiskR.pdf



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(explaining that the information previously required under the REMS “is

being submitted to the Agency through other pathways including

spontaneous adverse event reporting and the annual report”); 21 C.F.R.

§ 314.80(c). These requirements are extensive, obligating NDA holders

to review “all adverse drug experience information” received from “any

source.”   This includes, but is not limited to, commercial marketing

experience, reports in the scientific literature, and even unpublished

scientific papers.     21 C.F.R. § 314.80(b) (emphasis added).              It also

includes voluntary reports routinely submitted to FDA by patients and

healthcare providers. The district court’s assertion that the relevant

database was designed to “produce a null set,” ROA.4345, i.e., that it

deliberately turned a blind eye to safety issues, fundamentally

mischaracterizes these comprehensive reporting requirements that

apply to nearly every approved drug and ignores the information that

those requirements generate.

     The district court’s reasoning would require FDA to impose

unnecessary and overinclusive reporting requirements on prescribers

and drug sponsors—rather than complying with the statutory mandate

that it pare back unnecessary and unduly burdensome requirements. It



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drastically underappreciates the utility of data from FAERS, itself a

critical source of safety information, instead suggesting that FDA cannot

rely on FAERS data alone without opening itself up to litigation. This

path would impose unnecessary costs on industry without furthering the

fundamental purpose of adverse event reporting. Yet again, the district

court misused arbitrary-and-capricious review to substitute its own

judicially-crafted scheme, unmoored from any statutory or regulatory

text, for that of the expert agency.

     C.    The district court                badly     misinterpreted           and
           misapplied Subpart H.

     The district court devoted much space to plaintiffs’ claims

challenging FDA’s application of the Subpart H regulations twenty-three

years ago, claims that would also have significant implications in

particular for drugs that treat rare diseases. The court did so even

though there was no need for it to interpret the Subpart H regulations

(including the terms “meaningful therapeutic benefit” and “serious or

life-threatening illness”) at all.      For more than fifteen years, the

mifepristone distribution restrictions have been imposed under 21 U.S.C.

§ 355-1, which does not include those limitations and which applies to

any drug for which the agency concludes additional regulation is


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necessary to ensure a positive benefit-risk balance. Yet the district court

needlessly reached out to decide these issues under the Subpart H

regulations, and its mistaken decision could have serious negative

implications for other programs under the FDCA.

     “Meaningful therapeutic benefit.” Whether a drug confers a

meaningful therapeutic benefit to patients is a matter of scientific

judgment and depends on the magnitude of the drug’s effect and the

importance of that effect to treatment of the patient’s condition. These

matters call for application of the agency’s expertise. The district court,

however, rejected FDA’s determination that the drug in question

conferred a meaningful therapeutic benefit. Instead, the court concluded

that a meaningful therapeutic benefit cannot be found absent a clinical

trial comparing treatments. See ROA.4350–4353. That, too, was error.

     There is no legal requirement that “meaningful therapeutic benefit”

be demonstrated by any particular type of study, or by a particular

comparison with alternatives. Quite the contrary: as with clinical-study

designs, FDA exercises appropriate discretion in determining meaningful

therapeutic benefit, and findings of meaningful therapeutic benefit are

often made even in the absence of any existing approved treatment to



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which the drug in question can be compared. See FDA, Guidance for

Industry: Expedited Programs for Serious Conditions—Drugs and

Biologics, at 16 (May 2014) (noting that “[a]mended section 506(c) [of the

FDCA] clarifies the Agency’s flexibility,” including when determining

whether a drug provides a meaningful advantage).

     Although the NDA in question here was not approved under an

expedited program, a number of those programs require FDA to consider

the proposed drug in the context of other treatments, if any exist. See,

e.g., 21 U.S.C. § 356(c)(1)(A) (FDA must “tak[e] into account … the

availability or lack of alternative treatments”).           FDA’s discretion to

determine whether a drug confers a meaningful benefit is a critical

element of numerous FDCA programs, including breakthrough therapy

designation (21 U.S.C. § 356(a)), accelerated approval (21 U.S.C.

§ 356(c)), and priority review designation (see Prescription Drug User Fee

Act of 1992, Pub. L. No. 102-571, 106 Stat. 4491), all of which are vital

for drug developers to ensure funding and attain regulatory engagement.

     Head-to-head studies, i.e., direct comparative studies of two

different treatments for the same indication, are often technically

difficult, expensive, and impractical.          Moreover, in areas of unmet



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medical need, there may be no alternative treatment against which such

a study could even be conducted.            And in some circumstances—for

example, with regard to oncology treatments for terminal patients—

ethical considerations may preclude conducting head-to-head clinical

trials. For all of these reasons, requiring head-to-head clinical data as a

prerequisite to expedited programs is contrary to the purpose of these

programs, which is to catalyze drug development in areas where patients

have the fewest options.

     The type of second-guessing in which the district court engaged—

in violation of established principles of administrative law—would inject

an intolerable level of uncertainty into FDA’s determinations in this area.

This Court should reaffirm that FDA enjoys the flexibility to determine

“meaningful therapeutic benefit” based on its expert judgment, with or

without head-to-head data—and that it is eminently reasonable for the

agency to conclude that a non-surgical treatment provides a “meaningful

therapeutic benefit” over a surgical one.

     “Serious” or “life-threatening illness.” Similar to “meaningful

therapeutic benefit,” various FDCA programs require FDA to assess

whether a drug is intended to treat a “serious” or “life-threatening”



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disease or condition. E.g., 21 U.S.C. § 356; 21 C.F.R. § 314.500. FDA

enjoys considerable discretion in implementing these programs.

     Instead of deferring to FDA’s medical expertise, however, the

district court unreasonably limited FDA’s discretion by adopting a

cramped interpretation of the terms “serious” and “life-threatening,” as

well as drawing an artificial distinction between an “illness” and a

“condition.” The district court’s interpretations would prevent FDA from

considering serious complications or negative experiences associated

with a disease or condition in determining whether it is “serious” or “life-

threatening.”    ROA.4346–4347; ROA.4350.               Taken together, these

interpretations could unnecessarily restrict consideration of certain

drugs for other FDA programs intended to spur drug development for

serious and life-threatening illnesses. And again, no legal authority

justifies the district court’s novel restriction on FDA’s discretion and

exercise of its scientific judgment, which would undermine settled FDA

practices and the industry research, development, and investment that

rely on those practices.




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III. The district court’s transformation of FDCA requirements
     would chill drug development and investment.

      Regulatory flexibility and respect for FDA’s scientific judgment are

crucial to fostering development of new and innovative drugs in all the

ways discussed above and more.                 FDA has exercised this critical

flexibility in approving thousands of drugs, including numerous

transformative medicines. Had those drugs been developed or reviewed

by FDA under the district court’s approach, it is unclear which, if any,

would have been approved—or that their approvals would have been

unchallenged in court—and countless patients would have suffered

needlessly as a result.

      If the district court’s unworkable standards were adopted going

forward, drug developers would have to conduct trials using only the

conditions of use for which inclusion in labeling would be appropriate

(and only for those patients for whom the drug ultimately might be

indicated) or else run the risk that a court might reverse FDA’s approval

of those conditions, decades later and without any scientific justification.

This untenable approach would pose significant obstacles to designing

clinical trials. It would limit the utility of early efficacy studies and raise

questions about the utility of other kinds of studies, like bioequivalence


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and bioavailability studies, to support marketing applications, since the

ultimately approved labeling will virtually always differ from the

conditions of use in those trials. It would also ossify labeling, excluding

new information gathered from outside the original clinical trials and

threatening further innovations.

     In addition, development of drugs that depend on FDA programs

reserved for drugs expected to confer meaningful therapeutic benefit,

including many for rare diseases, would collapse under the weight of the

district court’s new head-to-head study requirement.              And, with the

district court’s narrowing of FDA’s discretion to determine whether a

drug is intended to treat a “serious” or “life-threatening” disease or

condition, many drugs would no longer be eligible for programs that

incorporate those requirements, delaying their availability to patients or

even discouraging their development altogether.

     In these ways and others, the district court’s decision would shatter

FDA’s gold standard of scientific safety and efficacy review.                   Drug

development is an increasingly high-risk and high-cost endeavor, with

only a small fraction of drug candidates progressing from preclinical

studies through clinical trials to market.             The stability of FDA’s



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regulatory framework provides much-needed assurance to investors who

fund the development of drugs. This is particularly important in early

development, when drug developers must secure sufficient capital to fund

expensive clinical trials. By improperly second-guessing FDA’s scientific

judgment, and by imposing new and unwarranted restrictions on the

exercise of that judgment, the district court’s decision threatens to

destabilize FDA approval decisions, even decades after a drug’s approval.

This additional uncertainty would make the already high degree of risk

in these investments intolerable. And without necessary investment,

drug development would freeze, stifling innovation and limiting

treatment options for patients.

     In short, if allowed to take effect, the district court’s opinion would

result in a seismic shift in the clinical development and drug approval

processes—erecting unnecessary and unscientific barriers to the

approval of lifesaving medicines, chilling drug development and

investment, threatening patient access, and destabilizing FDA’s

rigorous, well-established, and long-standing drug approval process,

which is rooted in science and law.




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                               CONCLUSION

      For the reasons set forth above, this Court should reverse the

district court’s order.

                                                Respectfully submitted,

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                       CERTIFICATE OF SERVICE

     I certify that on May 1, 2023, the foregoing Brief of Pharmaceutical

Companies, Executives, and Investors as Amici Curiae in support of

Appellants has been served via the Court’s ECF filing system in

compliance with Rule 25(b) and (c) of the Federal Rules of Appellate

Procedure on all registered counsel of record and has been transmitted to

the Clerk of the Court.

     I further certify that a copy of the foregoing was served via First-

Class U.S. Mail upon the following unregistered counsel:

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     This brief complies with Fed. R. Civ. P. 29(a)(5) contains 6,217

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